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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA                 |
                                         |
v.                                       |       Case No. 1:18-cr-00277-AT-JKL
                                         |
CEDRICK HILL                             |
                                         |
                                         |

DEFENDANT’S RESPONSE TO GOVERNMENT’S NOTICE OF INTENT
 TO USE EVIDENCE UNDER FEDERAL RULE OF EVIDENCE 404(B)

     Comes now defendant, CEDRICK HILL, by and through undersigned counsel

and files this response to the government’s notice to present evidence under FRE

404(b). On July 14, 2022 the government filed a notice of intent to introduce

certain evidence of Mr. Hill’s other alleged conduct of methamphetamine

trafficking to show his intent, opportunity, knowledge, and absence of mistake in

committing the crimes alleged in the indictment. Mr. Hill objects to the

introduction of such evidence on the following ground.

     I.     The Evidence Described In The 404(b) Notice Is Inadmissible Under
            Rule 403.

     Even if the proposed evidence is admissible under Rule 404(b), it is still

inadmissible under Rule 403 “if its probative value is substantially outweighed by

a danger of one or more following: unfair prejudice, confusing the issues,

misleading the jury, wasting time, or needlessly presenting cumulative evidence.”

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F.R.E. 403; United States v. Fortenberry, 971 F.2d 717, 721 (11th Cir. 1992). In

making a 403 determination, a factor that the court must consider is the strength of

the government’s case. When the government has a strong case without the

extrinsic evidence, fairness dictates that the extrinsic evidence should be excluded.

United States v. Pollock, 926 F.2d 1044, 1049 (11th Cir. 1991); see also United

States v. Hernandez, 896 F.2d 513, 521 (11th Cir. 1990) ("[I]f the government has

a strong case on intent without the extrinsic offense . . . then the prejudice to the

defendant will outweigh the marginal value of the extrinsic offense evidence and it

will be excluded.").

   In light of the volume of evidence acquired by the agents during the

investigation of this case, this extrinsic evidence adds little to the government’s

case and cannot be said to be important or essential to the presentation of its case.

The government has numerous wiretap phone calls between Mr. Hill and an

alleged co-conspirator, including phone calls where Mr. Hill makes damaging

statements about his conduct and actions. The government has geo-location data

placing Mr. Hill at a location being surveilled by police while drug transactions are

occurring. The government also has actual drugs seized from a co-conspirator as

well as the anticipated testimony of that co-conspirator. The sum of this evidence

allows the government to prove Mr. Hill’s guilt without any mention of the




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extrinsic evidence. The government has little, if any, incremental need for the

additional extrinsic evidence.

   Additionally, for Mr. Hill to respond to these allegations from CW-1, it will be

necessary for Mr. Hill to present evidence to rebut the allegation. Going down this

rabbit hole would unnecessarily extend the length of the trial as Mr. Hill would

have to present evidence that (1) he did not commit the extrinsic act and (2)

impeaches the credibility of CW-1. This would result in a mini-trial on the side

issue of whether Mr. Hill distributed methamphetamine on different dates, times,

locations, and to different persons than what is alleged in the indictment. As a

result, this evidence would cause delay and confusion. Because the government’s

case against Mr. Hill is already overwhelming, the undue confusion and prejudice

cause by this evidence clearly outweighs any relevance and it must be excluded

under Rule 403.

                                  CONCLUSION

      For all of the foregoing reasons, Defendant respectfully requests that the

Court grant this Motion and preclude the government from introducing at trial

potential 404(b) evidence.




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     Respectfully submitted this 2nd day of August, 2022.


                                    /s/ Laila Kelly_________
                                    Laila Kelly
                                    Georgia Bar No. 738973
                                    Attorney for Cedrick Hill



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                         CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Motion to Suppress Statements was

formatted in Times New Roman 14pt., in accordance with Local Rule 5.1C, and

was electronically filed this day with the Clerk of Court using the CM/ECF system,

which will automatically send email notification of such filing to all counsel of

record.

      This 2nd day of August, 2022.


                                       /s/ Laila Kelly_________
                                       Laila Kelly
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